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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                   __________      of Columbia
                                                              District  of __________

                  United States of America
                             v.                                     )
                          Mark Sahady                               )         Case No.   21-mj-108
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Mark Sahady                                                                                                 ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment         u Information         u Superseding Information            ✔ Complaint
                                                                                                                      u
u Probation Violation Petition             u Supervised Release Violation Petition        u Violation Notice          u Order of the Court

This offense is briefly described as follows:

  18 U.S.C. 1752 (a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
  Authority

  40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds


                                                                                                             Digitally signed by Robin M.
                                                                                Robin M. Meriweather Meriweather
Date:         01/18/2021                                                                                     Date: 2021.01.18 16:17:31 -05'00'
                                                                                           Issuing officer’s signature

City and state:       Washington, D.C.                                      Robin M. Meriweather, United States Magistrate Judge
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
